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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

                                   6
                                                                                          Case No. 24-cv-01454-JST
                                   7     ABDI NAZEMIAN, et al.,                           Case No. 4:24-cv-02655-JST
                                                       Plaintiffs,
                                   8                                                      ORDER REFERRING ALL
                                                 v.                                       DISCOVERY DISPUTES TO
                                   9                                                      MAGISTRATE JUDGE
                                  10     NVIDIA CORPORATION,
                                                       Defendant.
                                  11

                                  12     ANDRES DUBUS III and SUSAN
Northern District of California
 United States District Court




                                         ORLEAN, individually and on behalf of all
                                  13     others similarly situated.,
                                  14                   Plaintiffs,
                                  15     v.
                                  16     NVIDIA Corporation,
                                  17                   Defendant.
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                                  19          Discovery disputes in these related cases are referred to Magistrate Judge Kandis
                                  20   Westmore. All further discovery matters shall be filed pursuant to Magistrate Judge Westmore’s
                                  21   procedures.
                                  22          IT IS SO ORDERED.
                                  23   Dated: February 14, 2025
                                                                                      ______________________________________
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                                                                                                    JON S. TIGAR
                                  25                                                          United States District Judge

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